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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                          :
ROBERT WHARTON,                           :
                                          :
                              Petitioner, : Civil Action No.: 2:01-cv-06049-MSG
      v.                                  :
                                          :
DONALD T. VAUGHN,                         :
                                          :
                             Respondent. :


                    PRAECIPE FOR ENTRY OF APPEARANCE

      Kindly enter the appearance of Andrew M. Erdlen of the law firm of Hangley

Aronchick Segal Pudlin & Schiller as attorney for the Philadelphia District Attorney’s

Office in the above-captioned matter.



                                        HANGLEY ARONCHICK SEGAL
                                        PUDLIN & SCHILLER

 Date: June 1, 2022                     By:    /s/ Andrew M. Erdlen
                                            John S. Summers (Atty. I.D. #41854)
                                            jsummers@hangley.com
                                            Andrew M. Erdlen (Atty. I.D. #320260)
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                                        Philadelphia, PA 19103
                                        (215) 568-6200

                                        Counsel for Philadelphia District
                                        Attorney’s Office
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                            CERTIFICATE OF SERVICE

       I, Andrew M. Erdlen, hereby certify that on June 1, 2022 I caused to be served the

foregoing Praecipe for Entry of Appearance on behalf of the Philadelphia District

Attorney’s Office to be served on all counsel of record by the Court’s Electronic Case

Filing (ECF) system.



                                          By:    /s/ Andrew M. Erdlen
                                                 Andrew M. Erdlen
